Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 1 of 10




                      Exhibit B-7
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 2 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 3 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 4 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 5 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 6 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 7 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 8 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 9 of 10
Case 2:21-cv-00177-SRB Document 38-12 Filed 10/18/21 Page 10 of 10
